             Case 4:20-cv-05640-YGR Document 974-1 Filed 05/31/24 Page 1 of 2

                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

Case No: 20-cv-05640-YGR
Case Name: Epic Games v. Apple Inc.

                      EVIDENTIARY HEARING EXHIBIT and WITNESS LIST

 JUDGE:                           PLAINTIFF ATTORNEY:                     DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers           Gary Bornstein, Yonatan Even,           Mark Perry, Rich Doren, Jason
                                  Lauren Moskowitz, and Michael           Lo, Tony Bedel, Dana Craig,
                                  Zaken                                   and Jacqueline Sesia

 HEARING DATE:                    REPORTER:                               CLERK:
 May 31, 2024                     Raynee Mercado                          Edwin Cuenco
 TIME IN COURT:
 3 hours 51 minutes

 PLF     DEF      DATE/TIME
 NO.     NO.      OFFERED        ID    REC DESCRIPTION                                             BY
                  9:00 am                  Court is convened. Plaintiff informs the Court of
                                           document production issues. The Court orders the
                                           production of all Apple’s documents relative to the
                                           decision-making process leading to the link entitlement
                                           program and associated commission rates. The parties
                                           are ordered to meet and confer regarding a document
                                           production timetable.
                  9:20 am                  The Court takes a break.
                  10:02 am                   The Court is back in session. Parties will continue to
                                             meet and confer regarding a document production
                                             timetable. The Court will hear an update from the
                                             parties at a Status Conference on Tuesday, June 4,
                                             2024, at 4:00 p.m. via Zoom.
                  10:16 am                   The Judge exits the courtroom.
                  10:17 am                   The Court is back in session.
                  10:19 am                   Mr. Perry raised the issue on the admonishment of
                                             witnesses. The Court orders witnesses may not
                                             discuss the decision-making process leading to the
                                             link entitlement program and associated commission
                                             rates. The Court’s concern is historic. If Apple has
                                             concerns regarding the applicability of this ruling, it
                                             may contact the court.
                  10:21 am                   Witness Mr. Benjamin Simon is called and sworn.
                                             Direct examination by Mr. Bornstein.
CDX1.3                                       Demonstrative: App screen shots.
CDX1.8                                       Down Dog log in screen.
                  11:02 am                   Cross examination by Mr. Lo.
CX0003                            x     x    Previously admitted. Apple support page.
                                                   1
            Case 4:20-cv-05640-YGR Document 974-1 Filed 05/31/24 Page 2 of 2

                                    Case No: 20-cv-05640-YGR
                      Case Name: Epic Games v. Apple Inc. Date: May 31, 2024
      Courtroom Deputy: Edwin Cuenco          - Court Reporter:   Raynee Mercado

                           EXHIBIT and WITNESS LIST CONTINUED

PLF      DEF    DATE/TIME
NO.      NO.    OFFERED        ID    REC DESCRIPTION                                             BY
                11:54 am                 The Court takes a break.
                1:56 pm                    The Court is back in session. Continued cross
                                           examination by Mr. Lo.
CDX1.2                                     Demonstrative. Frequently Asked Questions from
                                           Down Dog.
                2:20 pm                    Redirect examination by Mr. Bornstein.
                2:32 pm                    Witness Mr. Benjamin Simon is excused.
                2:33 pm                    Witness Mr. Alex Shobin is called and sworn. Direct
                                           examination by Ms. Moskowitz.
CX0013                          x     x    Previously admitted. App Review Guidelines.
CX0003                          x     x    Previously admitted. Apple Support Page.
                3:01 pm                    Cross examination by Mr. Lo.
CX0003                          x     x    Previously admitted. Apple Support Page.
                                           Demonstrative. Epic’s Motion to Enforce Injunction
                                           dated March 13, 2024.
                                           Demonstrative. Linked-To Content.
                                           Demonstrative. Fortnite Room Simulator.
                                           Demonstrative. Fortnite Island Creator Rules.
                                           Demonstrative. Connect and Save (Epic Game Store
                                           Promotion).
                4:08 pm                    Redirect examination by Ms. Moskowitz.
                4:15 pm                    Witness Mr. Alex Shobin is excused.
                4:16 pm                    Court is adjourned. Case is continued on June 4,
                                           2024, at 4:00 pm for Status Conference via Zoom.




                                                2
